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                        NOTICE OF PRIVATE SALE OF
           STORED GOODS UNDER TEXAS UNIFORM COMMERCIAL CODE

 To:                    (a)   Rooftop Group USA, Inc., a California limited liability company
                        (“Debtor”), 5218 Spruce Street, Bellaire, Texas 77401; and

                        (b)     The parties listed on Exhibit A.1

 From:                  TriCon Logistics LLC, a Texas limited liability company
                        (“Secured Party”), c/o Secured Party’s counsel: David Lange, Winston &
                        Strawn LLP, 2121 N. Pearl Street, Suite 900, Dallas, Texas 75201
                        (Telephone 214-453-6436).

         PLEASE TAKE NOTICE that, pursuant to (i) Section 7.210(a) of the Texas Uniform
 Commercial Code (Tex. Bus. & Com. Code Section 7.210(a)), (ii) Section 9.610 of the Texas
 Uniform Commercial Code (Tex. Bus. & Com. Code Section 9.610), (iii) that certain Service
 Agreement for Fulfillment Distribution Services dated as of April 18, 2017, by and between Debtor
 and Secured Party, that certain Terms and Conditions of Service dated as of April 18, 2017, by
 and between Debtor and Secured Party, and that certain Service Agreement for Fulfillment
 Distribution Services dated as of June 14, 2019, executed on June 27, 2019, by and between Debtor
 and Secured Party (together with any other similar service agreements between Debtor and
 Secured Party, collectively, the “Service Agreement”), and (iv) that certain Secured Promissory
 Note dated as of May 29, 2019, executed by Debtor in favor of Secured Party (the “Note”), the
 Secured Party will sell or cause to be sold (the “Sale”) all of the Debtor’s right, title and interest
 in and to all of the assets described on Exhibit B (including certain related documents and records,
 collectively, the “Assets”) at a private sale to be held on or after Tuesday, August 20, 2019 at
 1:00 p.m. (Dallas, Texas time) (the “Sale Date”) to satisfy the outstanding amounts described
 below. This Notice, provided more than ten (10) days prior to the date of disposition of the Assets,
 is the only prior notice that you will receive of such disposition.

        As of August 7, 2019, storage and related charges totaling $743,824.67 are presently due
 and owing by Debtor to Secured Party on account of certain warehouse and related logistics
 services provided by Secured Party in favor of Debtor pursuant to the Service Agreement or
 otherwise. The Assets also secure the outstanding indebtedness owing by Debtor pursuant to the
 Note.

          The Assets are presently held by Secured Party at its warehouses located at (a) 4450 W.
 Walnut Hill Lane, Suite 100, Irving, Texas 75038 and (b) 2511 70th Avenue East, Suite D, Fife,
 Washington 98424. The Secured Party is not purporting to sell any interest in any asset that is
 (i) not owned by the Debtor; or (ii) not subject to a lien in favor of the Secured Party.



 1
         This Notice is intended to comply with the procedural requirements of the Texas Uniform
 Commercial Code (Tex. Bus. & Com. Code Sections 7.210 and 9.610). Nothing herein shall be deemed an
 admission that Secured Party is required under the Texas Uniform Commercial Code, or otherwise, to
 provide notification of disposition to the parties receiving this Notice.

                                                                                         EXHIBIT
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         TERMS AND CONDITIONS OF SALE: On or after the Sale Date, the Assets will be
 sold in bulk or in lots (at the sole and absolute discretion of Secured Party) to one or more
 purchasers (as determined by Secured Party in its sole and absolute discretion) on an “AS IS,
 WHERE IS” basis, with all faults, without recourse, and without any express or implied
 representations or warranties whatsoever, including, without limitation, condition of title, value or
 quality of the Assets. Secured Party reserves its right, on, after, or prior to the Sale Date, to
 withdraw all or a portion of the Assets from the Sale for any reason whatsoever, modify, waive or
 amend any terms or conditions of the Sale, continue the Sale Date with respect to any or all of the
 Assets, or impose any other terms or conditions on the Sale or to cancel the Sale. Secured Party
 reserves its right (or that of its assignee or designee) to add the expenses of the Sale to amounts
 owed to Secured Party by Debtor under the Service Agreement and Note to determine the amount
 of any surplus to be shared with Debtor. Secured Party reserves all of the rights accruing to it
 under the Service Agreement, the Note and applicable law or in equity.

        The Debtor is entitled to an accounting of the unpaid indebtedness and charges secured by
 the Assets and may request such an accounting by contacting counsel to Secured Party, David
 Lange, Winston & Strawn LLP, 2121 N. Pearl Street, Suite 900, Dallas, Texas 75201 at 214-453-
 6436. Other parties with questions regarding the Sale or this Notice may also contact counsel for
 Secured Party using this same contact information.

        Dated: August 8, 2019.
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                                          EXHIBIT A

                                       Other Addressees

    This Notice is intended to comply with the procedural requirements of the Texas Uniform
    Commercial Code (Tex. Bus. & Com. Code Sections 7.210 and 9.610). Nothing herein shall be
    deemed an admission that Secured Party is required under the Texas Uniform Commercial Code,
    or otherwise, to provide notification of disposition to the parties receiving this Notice.




     Via Federal Express Overnight                Via USPS Priority Express:
     Delivery:

     Rooftop Group USA, Inc.                      Corporation Service Company, as
     9101 Wall Street, Suite 1300                 Representative
     Austin, Texas 78754                          P.O. Box 2576
     Attn: Darren Matloff                         Springfield, IL 62708

     Rooftop Group USA, Inc.
     8619 Wall Street, Suite 400
     Austin, Texas 78754
     Attn: Darren Matloff

     Star Funding, Inc.
     237 West 37th Street, 5th Floor
     New York, NY 10018

     BEGALINE LTD
     Vanterpool Plaza, 2nd Floor, Wickams
     Cay I, Road Town
     Tortola, British Virgin Islands
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                                    EXHIBIT B

                                   List of Assets


                                   [See attached]
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                                           Exhibit B
                                        Drone Inventory

                                                                  Total      DFW        SEA
  Item #                          Description
                                                                 Quantity   Quantity   Quantity

  H5-2405   ATOM FPRMICRO DRONE                                    278          278       0

            AIR COMBAT - 2.4 GHZ MOTION CONTROLLED
 HS-1933                                                           410          410       0
            BATTLING HELICOPTER TITANIUM/RED
            AIR COMBAT - 2.4 GHZ MOTION CONTROLLED
 HS-1936                                                           300          300       0
            BATTLING HELICOPTER BLUE/GOLD

 HS-1943    NEUTRON                                                930          930       0

  HS1953    AIR COMBAT                                             310          310       0

            AIR COMBAT - 2.4 GHZ MOTION CONTROLLED
 HS-1953                                                           171          171       0
            BATTLING HELICOPTER
            ATOM 1.0 MICRO DRONE - INDOOR/OUTDOOR
 HS-1954                                                           216          216       0
            WIRELESS QUADROCOPTER
            SKY RAIDER - 2.4 GHZ INDOOR/OUTDOOR BATTLING
 HS-1956                                                           333          333       0
            QUADROCOPTER
            SKY RAIDER - 2.4 GHZ INDOOR/OUTDOOR BATTLING
 HS-1957                                                           40           40        0
            QUADROCOPTER
            SKY RAIDER - 2.4 GHZ INDOOR/OUTDOOR BATTLING
 HS-1958                                                           368          368       0
            QUADROCOPTER
            ATOM FPV MICRO DRONE - INDOOR/OUTDOOR
 HS-2405                                                           368          368       0
            WIRELESS QUADROCOPTER
            SKY MASTER + FPV - 2.4 GHZ BLUE QUADROCOPTER
 HS-2409                                                           34           34        0
            W/ LIVE VIDEO STREAMING
            ORBIT HD BLACK - 2.4 GHZ QUADROCOPTER W/ HD
 HS-2412                                                           249          249       0
            CAMERA
            ORBIT HD GREEN - 2.4 GHZ QUADROCOPTER W/ HD
 HS-2413                                                           187          187       0
            CAMERA

 HS-2414    ORBIT HD, 508936404                                    290          290       0

            ORBIT HD RED - 2.4 GHZ QUADROCOPTER W/ HD
 HS-2416                                                           486          486       0
            CAMERA
            ORBIT HD - 2.4 GHZ QUADROPCOPTER W/ HD
 HS-2418                                                           45           45        0
            CAMERA
            PROTON MICRO DRONE - INDOOR/OUTDOOR
 HS-2422                                                           378          378       0
            WIRELESS QUADROCOPTER

 HS-2425    PROTON MICRO DRONE                                     452          452       0

 HS-2432    SKY FORCE                                              170          170       0

 HS-2433    SKY FORCE                                              878          878       0

 HS-2436    XS T WIFI                                              24           24        0

 HS-2438    PROPEL GROVITIONAND WIFI                               196          196       0



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 HS-2443     GRAVITON+WIFI                                            275          275       0

 HS-2445     ZIPP NANO X2                                             505          505       0

 HS-2447     ZIPP NANO X2                                             297          297       0

 HS-2448-B   ZIPP NANO X2 BLACK                                       200          200       0

 HS-2448-R   ZIPP NANO X2 RED                                         560          560       0

 HS-2450     ZIPP NANO                                                388          388       0

 HS-2452     AIR COMBAT                                               145          145       0

 NV-3820     NAVIGATOR PACE MICRO DRONE                              7,682         0       7,682

 OD-2101     ATOM MICRO DRONE RED                                      8            0        8

             PROPEL SKY FORCE 2 PACK BATTLING DRONES
 OD-2108                                                              12            0        12
             ASSORTMENT

 OD-2111     NEUTRON BLUE                                             91            0       91

 OD-2113     SKYRIDER BLUE + EXTRA BATTERY                           1,128          0      1,128

 OD-2114     SKYRIDER RED + EXTRA BATTERY                            2,042          0      2,042

             PL-1351/1352/1354/1355 PROPEL PROTON MICRO
  PL-1350                                                             100          100       0
             DRONE ASSORTMENT

  PL-1390    ATOM 1.0 MICRO DRONE                                    1,880     1,880         0

  PL-1400    SPYDER X - Palm sized high performance drone            4,746     4,746         0

  PL-1402    SPYDER STUNT DRONE-28MC/PLT                             5,050     5,050         0

  PL-1434    CLOUD RIDER                                              85           85        0

  PL-1483    SPYDER X                                                 86           86        0

  PL-1486    Propel RC Spyder X Stunt Drone, Champagne                156          156       0

             Propel Tilt Hybrid Stunt Drone + HD Camera+ Altitude
 PL-1530*                                                            1,865     1,865         0
             Stability RED
             TILT COMPLETE SET (SPARE PART)
PL-1530-SP                                                            47           47        0

  PL-1540    SKY MASTER WHOLE SET                                     33            0       33

  PL-1601                                                             20                     20

             SKY RIDER FPV COMPLETE SET TITANIUM
  PL-1720                                                             546           0       546




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  PL-1763-R    TUNNEL PALM DRONE RED 7379565                    32           0        32

  PL-1770      MOVE (1318531)                                    2            0        2

  PL-1771      MOVE DRONE - GREEN                               292           0       292

  PL-1772      MOVE DRONE - RED                                 301           0       301

  PLM-472      RC SNAKE (1128823)                               91            0       91

               MULTI PACK MOTION CONTROL UFO BLUE AND DARK
  QC-0950                                                      5,712     5,712         0
               GREY

  QC-0951      ROCKET RC LEVICOPTER RED/SILVER                 5,694     5,694         0

  QC-0958      AIR CRAWLER RED                                 1,056     1,056         0

  QC-0959      ROCKET RC AIR CRAWLER SILVER                     216          216       0

  SC-2053      One Click                                        60           60        0

               VIDEO TALKER
  SL-1814                                                       49            0        49

  SL-1815      SL-1815 PDQ                                      532           0       532

 SW-0327-CX    STAR WARSTIEFIGHTER DRONE                       1,629     1,619        10

 SW-1977-CX    STAR WARS BATTLING XWING DRONE                  1,561     1,550        11

 SW-1983-CX    STAR WARS SPEEDER BIKE DRONE                    2,215     2,208         7

               SPEEDER BIKE BODY
SW-1983CX-BD                                                   1,376         48      1,328

  SWD-111      STAR WARS POS DISPLAY                            144          144       0

  TK-0530      CST TANK                                         408          408       0

  TK-0534      TANKS                                           1,359     1,359         0

  TK-0543      TANKS                                           1,608     1,608         0

  VL-3540      MAXIMUM X03 STUNT DRONE                         15,054         0      15,054

  VL-3630      MAXIMUM MOVE DRONE RED/BLACK                    20,945        0       20,945

               BATMAN
  WB-4001                                                       272          272       0

               SUPERMAN
  WB-4002                                                       13            8        5

  WB-4003      MOTION CONTROL RC FLYING BATMAN/SUPERMAN        1,582     1,582         0




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 WB-4010    BATWING MICRO DRONE                            7,491         520     6,971


            Grand Total                                   104,754    47,562      57,192




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From: Lipkind, Alec <Alec.Lipkind@disney.com>
Sent: Saturday, August 17, 2019 1:56 PM
To: Lange, David M. <DLange@winston.com>
Cc: Schreiber, Carey D. <CSchreiber@winston.com>
Subject: RE: Potential Trademark Infringement Arising From Notice of Private Sale of Stored Goods Under Texas Uniform
Commercial Code

Via Email (DLange@winston.com)
TriCon Logistics, LLC
c/o David Lange
Winston & Strawn LLP
2121 N. Pearl Street, Suite 900
Dallas, Texas 75201

        RE:        Potential Trademark Infringement Arising From Notice of Private Sale of Stored Goods Under Tex as
                  Uniform Commercial Code

Dear Mr. Lange:

          Disney Consumer Products, Inc. (“Disney”), provides this notice to TriCon Logistics, LLC (“TriCon”) of Disney’s
contractual and intellectual property rights in and to those items identified in t he inventory of products having the
designation “SW-___” (“Disney Trademarked Inventory”) referenced in the recent Notice of Private Sale of Stored Goods
Under Texas Uniform Commercial Code (“Sale Notice”). The Disney Trademarked Inventory exists pursuan t to a license
agreement between Rooftop Group International Pte. Ltd. (“Debtor”) and Disney. Under the license agreement, Debtor
was contractually obligated to make payments to Disney to maintain its license to incorporate Disney intellectual property
into the products in the Disney Trademarked Inventory. Debtor breached the license agreement by, among other things,
failing to pay Disney. Due to Debtor’s breach of the license agreement, Disney terminated the license agreement on July
26, 2018, thereby ending any rights Debtor (and by extension Rooftop Group USA, Inc. [1]) had to incorporate, sell or
distribute Disney intellectual property. Moreover, under the license agreement, Debtor was obligated to return or destroy
the Disney Trademarked Inventory upon termination of the license agreement. Thus, the Disney Trademarked Inventory
is contractually owned by Disney and it embodies Disney intellectual property that is not licensed by Dis ney for sale or
distribution.

         Disney recently received the Sale Notice, which indicates that TriCon, an alleged warehouse lienholder, intends to
sell the Disney Trademarked Inventory to third parties. TriCon is now on formal notice that: ( 1) TriCon’s sale of Disney
property is in violation of Disney’s contractual rights; and (2) the Disney Trademarked Inventory embodies Disney
intellectual property that is unlicensed such that any sale or distribution constitutes trademark infringement and copyright
infringement. Disney reserves all of its rights, including the right to seek injunctive relief, damages and attorney’s fees.

        Disney is further concerned that any markings or notices on the Disney Trademarked Inventory and that any
representations that TriCon may make in connection with the Disney Trademarked Inventory in terms of whether Disney
has authorized the sale and distribution of the products may be misleading or inaccurate.



                                                                                                           EXHIBIT
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       We trust that TriCon will respect the rights of Disney in and to the Disney Trademarked Inventory. Having now
been on notice of Disney’s rights, any violation thereof by TriCon could support a finding of willfulness, further enhancing
the remedies available to Disney.

         Should you or your client desire to discuss these issues, or their possible resolution, please feel free to contact me
directly.

           Very truly yours,

           Alec M. Lipkind


cc: Carey D. Schreiber, Esq. (via email: CSchreiber@winston.com)




This e-mail message is confidential, intended only for the named recipient(s) above and may contain information that is
privileged, attorney work product or exempt from disclosure under applicable law. If you have received this message in
error, or are not the named recipient(s), please immediately notify the sender at (212) 456-7176 and delete this e-mail
message from your computer. Thank you.




    [1]
       Disney is still investigating how Rooftop Group USA, Inc., obtained possession of the Disney Trademarked
Inventory. However, for avoidance of doubt, Disney hereby notifies you that neither Debtor nor Rooftop Group USA, Inc., has any
license or authorization to possess, distribute, or sell the Disney Trademarked Inventory.




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                                                                                       BASHEER GHORAYEB
                                                                                                         Partner
                                                                                                   214-453-6433
                                                                                          bghorayeb@winston.com
August 21, 2019


By email (mdavis@lockelord.com)
Matthew H. Davis
Locke Lorde LLP
2200 Ross Avenue Suite 2800
Dallas, Texas 75201


Re:    Rooftop USA

Dear Mr. Davis:

As you are aware, Winston & Strawn LLP represents TriCon Logistics LLC (“TriCon”). I write on behalf
of TriCon in response to (1) your discussion with my law partner Carey Schreiber on August 15, 2019, and
(2) the August 17, 2019 email from your client Alec Lipkind at Disney Consumer Products, Inc. (“DCP”)
to my law partners, Mr. Schreiber and David Lange.

As you are well aware, TriCon is a secured creditor of Rooftop USA, Inc. (“Rooftop USA”) with a first
priority, valid lien on certain collateral. You were previously provided with TriCon’s Notice of Private
Sale of Stored Goods Under Texas Uniform Commercial Code dated August 8, 2019 (the “UCC Sale
Notice”). In connection with the UCC Sale Notice, TriCon is conducting a UCC private sale process
pursuant to the Texas Uniform Commercial Code to liquidate its collateral (the “UCC Sale”).

In short, DCP purports to provide TriCon with notice of DCP’s “contractual and intellectual property rights
in” in certain of TriCon’s collateral that is the subject of the UCC Sale Notice. In particular, DCP asserts
that it has a terminated license agreement with Rooftop Group International Pte. Ltd. (the “Debtor”), which
is a debtor in a chapter 11 Case No. 19-31443-hdh11 pending in the United States Bankruptcy Court for
the Northern District of Dallas (the “Bankruptcy Court”). Without explaining how, DCP asserts that its
rights under the terminated agreement with the Debtor apply “by extension” to affect Rooftop USA’s rights
to its own inventory and the sale of TriCon’s collateral, which is property of Rooftop USA and not property
of the Debtor.

Despite Mr. Schreiber’s request for relevant documentation, including any license agreement or related
agreements and any notices sent under these agreements, DCP continues to provide us no basis from which
to evaluate DCP’s assertions. The only thing DCP’s email makes clear is that DCP purports to have a
contract with the Debtor, not with Rooftop USA. Indeed, DCP has provided no documentary support any
of its allegations. It is thus unclear what, if any, contractual rights DCP is asserting.




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                                                                                           August 21, 2019
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If you still contend that DCP has rights that would affect the UCC Sale, we reiterate our request that DCP
produce (1) the license agreements with the Debtor (including all amendments), (2) any applicable standard
terms and conditions, and (3) any notices provided in connection with the foregoing, including any notice
of termination. Otherwise, TriCon will rely on DCP’s continued withholding of such documents as an
admission by DCP that there are no contracts supporting its claims.

TriCon is working independently of Rooftop USA and the Debtor, seeking to maximize the value of its
collateral with an arm’s length sale to an independent third-party buyer that will provide the highest bid.
To be clear, TriCon is seeking to sell its collateral to reputable liquidators who are not affiliated with
Rooftop USA or the Debtor. Nor will Rooftop USA or the Debtor obtain any of the proceeds from TriCon.

To maximize the collateral’s value, TriCon must act now in anticipation of the upcoming holiday season.
We note that it is in everyone’s interest to allow the sale to proceed. If DCP’s actions scare off buyers, it
will impair the value of the assets being sold. In this regard, DCP is welcome to make an offer to purchase
some or all of TriCon’s collateral listed in the UCC Sale Notice.

TriCon reserves all of its rights, both at law and in equity.




                                               Sincerely,



                                               Basheer Ghorayeb
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From: Britt McClung <Britt@hedrickkring.com>
Sent: Monday, August 19, 2019 5:55 PM
To: Lange, David M. <DLange@winston.com>; Schreiber, Carey D. <CSchreiber@winston.com>
Cc: Katie Clark <KClark@hedrickkring.com>; Laura Fontaine <Laura@hedrickkring.com>
Subject: TriCon Logistics/Rooftop USA - Notice of TRO

Counsel,

Attached is a copy of the temporary restraining order (“Order”) issued today by the 101st Judicial District Court in Dallas,
Texas, enjoining Rooftop USA from taking various actions that would affect Triumphant Gold Limited’s rights as a
creditor. As you will see, part of the Order enjoins a private sale of Rooftop USA’s inventory that was previously noticed
by your client TriCon Logistics, LLC, to be held on or after Tuesday, August 20, at 1:00 pm. We will deliver a courtesy
copy of the Order to TriCon’s Dallas location tomorrow, but I wanted to provide you notice as soon as I could. I called
Mr. Schreiber’s direct line but was not able to reach him; I am heading out of the office shortly, but I will call again
tomorrow morning to discuss further.

Regards,

Britt McClung
Hedrick Kring, PLLC
1700 Pacific Avenue, Suite 4650 | Dallas, Texas 75201
Main: 214.880.9600 | Direct: 214.880.9663 | Fax 214.481.1844
Britt@HedrickKring.com | www.HedrickKring.com




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                                                                                       BASHEER GHORAYEB
                                                                                                          Partner
                                                                                                    214-453-6433
                                                                                           bghorayeb@winston.com
August 20, 2019


By email (britt@hedrickkring.com)
Britt McClung
Hedrick Kring, PLLC
1700 Pacific Ave., Ste. 4650
Dallas, Texas 75201

Re:    Rooftop USA

Dear Mr. McClung:

As you are aware, we represent TriCon Logistics LLC (“TriCon”). I write on behalf of TriCon in
response to your August 19, 2019 email to my law partners, Carey Schreiber and David Lange. Your
email attached a temporary restraining order (“Order”) obtained by your client Triumphant Gold Limited
(“TGL”) against Rooftop Group Services (US) Inc. and Rooftop Group USA, Inc. (collectively,
“Rooftop USA”).

Although you describe the Order as “enjoining Rooftop USA from taking various actions that would
affect Triumphant Gold Limited’s rights as a creditor,” your email also claims that the Order enjoins “a
private sale of Rooftop USA’s inventory that was previously noticed by your client TriCon Logistics,
LLC, to be held on or after Tuesday, August 20, at 1:00 pm.” Why you claim the Order enjoins TriCon’s
sale is unclear. As you are well aware, pursuant to the Notice of Private Sale of Stored Goods Under
Texas Uniform Commercial Code dated August 8, 2019 (the “UCC Sale Notice”) that we provided you
last week, TriCon, as a secured creditor (and not Rooftop USA) is foreclosing on its first priority valid
lien on TriCon’s collateral and is conducting a sale process pursuant to the Texas Uniform Commercial
Code to liquidate its collateral, which it now has the right to sell at a private sale on or after 1:00 p.m.
today (the “UCC Sale”).

As discussed in greater detail below, the Order simply does not apply to the UCC Sale. Your client’s
suggestion that the Order applies appears to be a deliberate attempt to tortiously interfere with TriCon’s
sale process under the UCC Sale Notice and to gain some sort of tactical advantage. Moreover, this is
merely the latest example of the sharp practices your client has employed, whether in the chapter 11 case
of Rooftop Group International Pte. Ltd. (the “Debtor”) Case No. 19-31443-hdh11 pending in the United
States Bankruptcy Court for the Northern District of Dallas (the “Bankruptcy Court”), or in case against
Rooftop USA pending in the 101st Judicial District Court of Dallas County (the “State Court”). Your
tactics include filing pleadings with inaccurate statements about TriCon and repeated failures to give
notice to TriCon of those pleadings. We demand that TGL immediately cease and desist from these and
any future attempts to abuse the legal system to tortiously interfere with TriCon’s rights, including with



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respect to the UCC Sale Notice and UCC Sale. We also demand that TGL promptly correct the factual
misstatements in your pleadings in the State Court.

The Order does not enjoin TriCon’s sale under the UCC Sale Notice.

The Order does not prevent TriCon from proceeding with the UCC Sale in accordance with the UCC Sale
Notice. TriCon is not a party to the action you filed in State Court. Nor does the Order enjoin TriCon.
The Order specifically enjoins only “Defendants and their agents, servants, employees, representatives,
any entity in which they own a controlling interest, and all those acting in concert with them.” As you
well know, TriCon does not fall under any of those categories.

TriCon is neither one of the named Defendants, nor an agent, employee, representative, or affiliate of the
named Defendants. And it is certainly not acting in concert with them. As set forth in the documents that
TriCon voluntarily provided you over a week ago, TriCon, at all times, acted at arms’ length to the
named Defendants. In that regard, TriCon is acting adversely to Rooftop USA, foreclosing on a lien for
an unpaid debt. Nor do you have any evidence to the contrary. Accordingly, TriCon is not enjoined by
the Order from, among other things, closing on the UCC Sale as set forth the UCC Sale Notice.

TGL has violated its duty of candor to the Court.

The Dallas County Local Rules require you to give notice to a party’s counsel of an application for a
temporary restraining order. You knew that TriCon was represented by counsel—after all, you had
communicated with Mr. Schreiber on multiple occasions over the past week and had subpoenaed, and
received, information from TriCon. Nor do any of the exceptions to giving notice apply here. TriCon is
not insolvent and there is no basis for assuming that providing TriCon notice of a temporary restraining
order would have precipitated any imminent harm. In fact, as you point out, the UCC Sale was not even
set to begin until 1 p.m. on August 20 as set forth in the UCC Sale Notice that you attached to your
pleadings, one day after your purported emergency hearing. There was no impediment, therefore, to you
providing notice of a temporary restraining order last week when the Bankruptcy Court denied your
extreme relief, or the day of the hearing on the temporary restraining order (yesterday).

TriCon has been extremely cooperative with TGL, as demonstrated by its voluntarily agreeing to produce
all the documents you have demanded to date. And those documents, as well as the information that you
filed in the Bankruptcy Court and State Court, demonstrate conclusively that TriCon is foreclosing on its
collateral, not any of TGL’s collateral. They also show that TriCon was pursuing an arm’s length UCC
Sale process. Your failure to disclose this information to the Court and the assertions in your pleadings to
the contrary fail to satisfy your duty of candor with the Court.

Significantly, you hid the fact that you and your client had pursued and lost the very same issue in the
Bankruptcy Court. While you cite to two Bankruptcy Court hearings, you omit the most relevant one—
the third hearing that occurred just last Friday, at which time your relief was denied. Incredibly, you
sought relief in the Bankruptcy Court to extend the automatic stay of the Debtor to assets of Rooftop
USA, a non-Debtor, and to enjoin, among others, TriCon, without notice to TriCon. At the same time,
you were in communication with Mr. Schreiber, yet you failed to mention this fact to him. Clearly your
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                                                                                             August 20, 2019
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aim was solely to disrupt TriCon’s UCC Sale of its collateral while depriving TriCon any opportunity to
object. All the same, the Bankruptcy Court denied your client’s motion at the hearing on August 16,
2019. Your State Court case appears to be a direct response to this adverse decision—an attempt at a
second bite at the apple—yet you did not mention this hearing in your application for a temporary
restraining order.

Demand for reasonable notice going forward

If your client intends to seek relief from any court against TriCon going forward, I strongly caution you
to comply with the applicable rules of procedure by providing us with reasonable advance notice. Your
client has demonstrated a pattern of filing motions to interfere with TriCon’s rights without providing
TriCon any notice or meaningful ability to participate in the proceedings. Your approach has been highly
wasteful, causing TriCon to incur costs and expenses. TriCon reserves the right to recover those costs and
seek sanctions for TGL’s conduct.

Continued interference not only damages TriCon, but TGL as well

Finally, we note that it is in everyone’s interest to allow the sale to proceed. If TGL continues to interfere
with the UCC Sale and scares off buyers, it will impair the value of assets being sold, and will create
significant liability for TGL for tortiously interfering with the UCC Sale.

You imply in your pleadings, without any evidence, that TriCon is working in concert with Rooftop USA
to sell the assets to an “unknown party,” suggesting that it is related to an alleged practice by Mr. Matloff
of using Rooftop USA’s assets to fund his personal expenses. That is untrue. To be clear, TriCon is
working independently and is seeking to sell its collateral to reputable liquidators who are not affiliated
with Rooftop USA or the Debtor. Nor will Rooftop USA or the Debtor obtain any of the proceeds. You
have no basis to suggest otherwise.

To maximize the collateral’s value, TriCon must act now to engage a liquidator that will market the
products in anticipation of the upcoming holiday season. To the extent TGL can demonstrate a legal basis
for asserting an interest in the proceeds of the sale (which to date it has failed to do), that can be
addressed at a later time and can be easily remedied. However, there is no basis for an equitable remedy
against TriCon. TriCon reserves all of its rights, both at law and in equity.




                                              Sincerely,



                                              Basheer Ghorayeb
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                                                                                                                     TAX #:

                                 STATEMENT OF ACCOUNT
                                                                                     ACCOUNT: ROOUSAAKU
                  ROOFTOP GROUP USA INC DBA ROOFTOP BRANDS                          CURRENCY: USD
                  ATTENTION: SHULY RAMIREZ                                               PAGE: 1 of 3
                  5218 SPRUCE STREET, BELLAIRE, TEXAS 77401
                  8619 WALL ST STE 400                                                    DATE: 05-Sep-19
                  AUSTIN TX 78754                                                   STD TERMS: Cash on Delivery
                                                                                    DSB TERMS: Cash on Delivery
                                                                THIS STATEMENT IS FOR ITEMS TO: 25-Aug-19

TRANSACTION               DATE        DESCRIPTION                      DUE DATE         INV. AMT     BALANCE         TOTAL
INV   SSEADS00092113      02-Nov-18   HOUSE: YYFSZ1809037 PAYMENT      02-Dec-18           419.26        419.26       419.26
                                      REF: 00002731
INV   SSEADS00092148      02-Nov-18   HOUSE: SBIE1800032 PAYMENT       02-Dec-18          1,897.04      1,897.04     2,316.30
                                      REF: 00002735
INV   SSEADS00091970      02-Nov-18   HOUSE: YYFSZ1809021/020          02-Dec-18          1,773.33      1,773.33     4,089.63
                                      PAYMENT REF: 00002736
INV   SSEADS00091944      02-Nov-18   HOUSE: YYFSZ1809025 PAYMENT      02-Dec-18          1,758.52      1,758.52     5,848.15
                                      REF: 00002737
INV   SSEADS00092154      02-Nov-18   HOUSE: SBIE18100001 PAYMENT      02-Dec-18           548.01        548.01      6,396.16
                                      REF: 00002738
INV   SSEADS00092257      07-Nov-18   HOUSE: SEADS-00092257 PAYMENT    07-Dec-18           716.76        716.76      7,112.92
                                      REF: 00002788
INV   SSEADS00092045      08-Nov-18   HOUSE: SEADS-00092045 PAYMENT    08-Dec-18          1,657.08      1,657.08     8,770.00
                                      REF: 00002792
INV   SSEADS00092404      15-Nov-18   HOUSE: SEADS-00092404 PAYMENT    15-Dec-18          1,447.22      1,447.22    10,217.22
                                      REF: 00002921
INV   SSEADS00092410      15-Nov-18   HOUSE: OSTISZTIW18A0346          15-Dec-18           838.52        838.52     11,055.74
                                      PAYMENT REF: 00002922
INV   SSEADS00092442      16-Nov-18   HOUSE: YYFSZ1810002 PAYMENT      16-Dec-18           616.76        616.76     11,672.50
                                      REF: 00002939
INV   SSEADS00091345      20-Nov-18   HOUSE: YYFSZ1808032 PAYMENT      20-Dec-18          1,867.00      1,867.00    13,539.50
                                      REF: 00002991
INV   SSEAIA00092629      27-Nov-18   HOUSE: HVHA18110037 PAYMENT      27-Dec-18           835.70        835.70     14,375.20
                                      REF: 00003057
INV   I00007242           30-Nov-18   PAYMENT REF: 00003224            30-Dec-18         10,638.39     10,638.39    25,013.59
INV   I00007207           30-Nov-18   PAYMENT REF: 00003264            30-Dec-18         48,969.38     39,073.67    64,087.26
INV   SSEADS00092919      14-Dec-18   HOUSE: SEADS-00092919 PAYMENT    13-Jan-19           963.73        963.73     65,050.99
                                      REF: 00003466
INV   SSEAIA00092916      21-Dec-18   HOUSE: HVHA18110183 PAYMENT      20-Jan-19           861.00        861.00     65,911.99
                                      REF: 00003623
INV   I00007254           28-Dec-18   PAYMENT REF: 00003730            27-Jan-19         37,182.31     37,182.31   103,094.30
INV   I00007260           31-Dec-18   PAYMENT REF: 00003846            30-Jan-19         38,717.14     38,717.14   141,811.44
INV   I00007265/B         31-Dec-18   PAYMENT REF: 00003829            30-Jan-19         14,297.32     14,297.32   156,108.76
INV   SSEADS00093265      08-Jan-19   HOUSE: YYFSZ1811038 PAYMENT      07-Feb-19           678.48        678.48    156,787.24
                                      REF: 00003887
INV   I00007385           31-Jan-19   PAYMENT REF: 00004529            02-Mar-19          6,070.45      6,070.45   162,857.69
INV   I00007334           01-Feb-19   PAYMENT REF: 00004628            03-Mar-19        122,115.99    122,115.99   284,973.68
INV   SSEAIA00094129      04-Feb-19   HOUSE: 731-92488001 PAYMENT      06-Mar-19           352.76        352.76    285,326.44
                                      REF: 00004767
INV   SSEADS00093986      19-Feb-19   HOUSE: YYFSZ1901009 PAYMENT      21-Mar-19           671.97        671.97    285,998.41

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                                                                                                                          TAX #:

                                 STATEMENT OF ACCOUNT
                                                                                    ACCOUNT: ROOUSAAKU
                  ROOFTOP GROUP USA INC DBA ROOFTOP BRANDS                         CURRENCY: USD
                  ATTENTION: SHULY RAMIREZ                                              PAGE: 2 of 3
                  5218 SPRUCE STREET, BELLAIRE, TEXAS 77401
                  8619 WALL ST STE 400                                                   DATE: 05-Sep-19
                  AUSTIN TX 78754                                                  STD TERMS: Cash on Delivery
                                                                                   DSB TERMS: Cash on Delivery
                                                               THIS STATEMENT IS FOR ITEMS TO: 25-Aug-19

TRANSACTION               DATE        DESCRIPTION                      DUE DATE        INV. AMT         BALANCE           TOTAL
                                      REF: 00005362
INV   I00007435           26-Feb-19   PAYMENT REF: 00005739            28-Mar-19        52,513.41           52,513.41   338,511.82
INV   I00007467           28-Feb-19   PAYMENT REF: 00005835            30-Mar-19         6,289.31            6,289.31   344,801.13
INV   I00007453           28-Feb-19   PAYMENT REF: 00005973            30-Mar-19        35,477.16           35,477.16   380,278.29
INV   SSEAIA00094989      06-Mar-19   PAYMENT REF: 00006091            05-Apr-19          638.00              638.00    380,916.29
INV   I00007499           27-Mar-19   PAYMENT REF: 00007141            26-Apr-19        72,400.98           72,400.98   453,317.27
INV   I00007531           29-Mar-19   PAYMENT REF: 00007438            28-Apr-19        46,929.36           46,929.36   500,246.63
INV   I00007554           02-Apr-19   PAYMENT REF: 00007566            02-May-19         6,700.82            6,700.82   506,947.45
INV   W00620722           02-Apr-19   PAYMENT REF: 00007583            02-May-19          295.00              295.00    507,242.45
INV   SSEADO00096419      15-Apr-19   HOUSE: SEADO-00096419 PAYMENT    15-May-19          295.00              295.00    507,537.45
                                      REF: 00008370
INV   I00007569           19-Apr-19   PAYMENT REF: 00008661            19-May-19        21,945.39           21,945.39   529,482.84
INV   I00007638           30-Apr-19   PAYMENT REF: 00009314            30-May-19         6,100.07            6,100.07   535,582.91
INV   I00007622           30-Apr-19   PAYMENT REF: 00009419            30-May-19        37,140.57           37,140.57   572,723.48
INV   I00007622/A         30-Apr-19   PAYMENT REF: 00009427            30-May-19         1,477.06            1,477.06   574,200.54
INV   SSEADS00096364      01-May-19   HOUSE: YYFSZ1903033 PAYMENT      31-May-19          848.14              848.14    575,048.68
                                      REF: 00009457
INV   I00007667           20-May-19   PAYMENT REF: 00010451            19-Jun-19        12,132.65           12,132.65   587,181.33
INV   I00007706           31-May-19   PAYMENT REF: 00011325            30-Jun-19        26,334.46           26,334.46   613,515.79
INV   I00007744           31-May-19   PAYMENT REF: 00011253            30-Jun-19         6,030.24            6,030.24   619,546.03
INV   W00615885           31-May-19   PAYMENT REF: 00011453            30-Jun-19           18.92               18.92    619,564.95
INV   I00007765           25-Jun-19   PAYMENT REF: 00012656            25-Jul-19         5,608.65            5,608.65   625,173.60
INV   I00007765/A         25-Jun-19   PAYMENT REF: 00012659            25-Jul-19         1,203.05            1,203.05   626,376.65
INV   I00007793           25-Jun-19   PAYMENT REF: 00012660            25-Jul-19         2,721.42            2,721.42   629,098.07
INV   I00007807           28-Jun-19   PAYMENT REF: 00013302            28-Jul-19         8,061.31            8,061.31   637,159.38
INV   I00007827           28-Jun-19   PAYMENT REF: 00013293            28-Jul-19         6,042.71            6,042.71   643,202.09
INV   I00007876           31-Jul-19   PAYMENT REF: 00015212            30-Aug-19        91,822.19           91,822.19   735,024.28
INV   I00007853           31-Jul-19   PAYMENT REF: 00015271            30-Aug-19         8,800.39            8,800.39   743,824.67
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                                                                                                                 TAX #:

                            STATEMENT OF ACCOUNT
                                                                               ACCOUNT: ROOUSAAKU
              ROOFTOP GROUP USA INC DBA ROOFTOP BRANDS                        CURRENCY: USD
              ATTENTION: SHULY RAMIREZ                                             PAGE: 3 of 3
              5218 SPRUCE STREET, BELLAIRE, TEXAS 77401
              8619 WALL ST STE 400                                                  DATE: 05-Sep-19
              AUSTIN TX 78754                                                 STD TERMS: Cash on Delivery
                                                                              DSB TERMS: Cash on Delivery
                                                          THIS STATEMENT IS FOR ITEMS TO: 25-Aug-19




                                 Overdue at statement date: 743,824.67 USD


                                                                       TOTAL USD                            743,824.67


Bank Payments To:                                     Mail Payments To:
Bank       111000753             SWIFT: MNBDUS33      TRICON LOGISTICS LLC
Account    1883046839                                 PO BOX 671711
                                                      DALLAS TX 75267-1711
COMERICA BANK - TEXAS                                 UNITED STATES
8828 STEMMONS FRWY, DALLAS TX 75247
Pay Ref    ROOUSAAKU
Due        USD 743,824.67
